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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

 

 

Richmond Division . in
SEAN ANZANO .— 4
AND [| wr erzo0 |)
SASCHA ANZANO, |
Clann. US. US TAC! COGRn4Tr
Plaintiffs RICHMOND VA.
v. Civil Action No. 3:10cv059

CENTRAL CREDIT SERVICES, INC..
Defendant.
STIPULATION OF DISMISSAL WITH PREJUDICE
Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), Plaintiffs hereby DISMISS
WITH PREJUDICE their Complaint against Defendant, Central Credit Services, Inc., all

parties to bear their own costs and attorneys’ fees.

SO ORDERED:

DATE: April 2%, 2010 /s/ Ref
Rep Judge, United States District Court for
the Eastern District of Virginia
Robert E. Payne —

DATED: SL cl Lb, AK »

Cole Gayle, Jr., VSB #008839)
Thé Cgnsumer Law Group, RC.
5905 West Broad Street, Suite 303
Richmond, VA 23230
804/282-7900
804/673-0316 (Fax)
jgayle@theconsumerlawgroup.com

 

Counsel for Plaintiff

 

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